
15 N.Y.3d 854 (2010)
PEOPLE
v.
MENDEZ.
Court of Appeals of New York.
September 29, 2010.
Application in criminal case for leave to appeal denied.[1] (Graffeo, J.).
NOTES
[1]  Denied with leave to renew within 30 days after the Court of Appeals renders a decision in People v Lingle (66 AD3d 582 [2009], lv granted 14 NY3d 802 [2010]), People v Murrell (73 AD3d 598 [2010], lv granted 15 NY3d ___ [2010]), People v Parisi (72 AD3d 989 [2010], lv granted 15 NY3d 776 [2010]) and People v Prendergast (71 AD3d 1055, lv granted 15 NY3d 808 [2010]).

